      Case 2:14-cr-00554-SRB Document 438 Filed 07/29/22 Page 1 of 3




     C. Adam Buck (#023128)
 1
     RADIX LAW
 2   15205 N. Kierland Blvd., Suite 200
     Scottsdale, AZ 85254
 3   buck@radixlaw.com
 4   (602) 606-9300
     Attorneys for Dev-Tron, LLC
 5
                            IN THE UNITED STATES DISTRICT COURT
 6

 7                                FOR THE DISTRICT OF ARIZONA

 8   United States of America,
                                                              CR 14-00554-001-PHX-SRB
 9
                     Plaintiff,
10                                                      APPLICATION FOR APPROVAL OF
        vs.                                              ATTORNEY FEES AND COSTS BY
11
                                                               DEV-TRON, LLC
12   John Keith Hoover, et al.,

13                        Defendant.
14

15
              In accordance with the Court’s Order dated July 15, 2022 in the above captioned
16
     matter, DEV-TRON, LLC (“DEV-TRON”), by and through undersigned counsel, hereby
17
     applies for approval of its attorney fees and costs in connection with its tax lien
18
     foreclosure Complaint filed in the Mohave County Superior Court, State of Arizona, Case
19
     No. S8015CV202200104, DEV-TRON, LLC v. El Rio Holdings, LLC, et. al. (“Tax Lien
20
     Complaint”).
21
              Often, the most complicated part of tax lien foreclosures is identifying and serving
22
     all necessary defendants because people who fail to pay their real estate taxes are often
23
     hard to find (like Mr. Hoover in this case). In this case, the costs were significant because
24
     we had to serve four separate defendants in outlying counties. This case was complicated
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     by the fact that someone allegedly representing El Rio Country Club, LLC appeared and
26
     filed a Motion to Dismiss, to which Dev-Tron had to respond. Also, Radix Law wrote off
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      Case 2:14-cr-00554-SRB Document 438 Filed 07/29/22 Page 2 of 3




 1   a significant amount of administrative and paralegal time to keep the costs down for the
 2   client.
 3             As of June 13, 2022, the date DEV-TRON, LLC provided a payoff to Chicago
 4   Title, DEV-TRON, LLC incurred $5,939.00 in attorney fees and $1,494.34 in legal costs
 5   in connection with the filing of its Tax Lien Complaint. Although, to date, Radix Law
 6   has now billed $6,343.50 in attorneys’ fees, it is only seeking the amounts it provided to
 7   Chicago Title on June 13, 2022.
 8             Under the circumstances, these amounts are reasonable. This Application is
 9   supported by the Declaration of C. Adam Buck, Esq in Support of Attorney’s Fees and
10   Costs, which is filed simultaneously herewith.
11             Based on the foregoing, DEV-TRON, LLC requests that the Court approve its
12   attorney fees in the amount of $5,939.00 and legal costs of $1,494.34.
13             RESPECTFULLY SUBMITTED this 29th day of July, 2022.
14                                             RADIX LAW
15

16                                             By:      /s/ C. Adam Buck
                                                     C. Adam Buck
17                                                   Attorneys for DEV-TRON, LLC
18

19   ORIGINAL E-FILED
     on July 29th, 2022
20

21   COPY emailed July 29th, 2022 to:

22   GARY M. RESTAINO
     United States Attorney
23   VINCENT M. CRETA
24   Assistant U.S. Attotney
     Financial Litigation Program
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     Phoenix, AZ 85004-4449
     Vincent.Creta@usdoj.gov
27   Attorney for Plaintiff
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                                                  2
                                                                                       1311559.13
      Case 2:14-cr-00554-SRB Document 438 Filed 07/29/22 Page 3 of 3




     COPY mailed July 29, 2022 to:
 1

 2   John K. Hoover
     Garden Grove, CA 92841
 3

 4   Don DeGraffenreid
     All Arizona River Realty
 5   967 Hancock Road, Suite 145
     Bullhead City, AZ 86442
 6
     Receiver Appointed in U.S. District Court
 7   District of Arizona Case No.
     CR 14-00554-001-PHX-SRB
 8

 9
     By: /s/ Ashley Parker
10       Ashley Parker
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